                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                              EASTERN DIVISION



 UNITED STATES OF AMERICA,
                Plaintiff,                               No. CR 06-2035-LRR
 vs.                                    ORDER REGARDING
                                   MAGISTRATE’S REPORT AND
 JULIO ZALAPA-URBINA,                   RECOMMENDATION
                                    CONCERNING DEFENDANT’S
          Defendant.                       GUILTY PLEA
                      ____________________


                       I. INTRODUCTION AND BACKGROUND
        On May 25, 2006, a three-count Indictment was returned against Defendant Julio
Zalapa-Urbina. On June 19, 2006, Defendant appeared before Chief United States
Magistrate Judge John A. Jarvey and entered a plea of guilty to Count 1 of the Indictment.
On June 19, 2006, Judge Jarvey filed a Report and Recommendation in which he
recommended that defendant’s guilty plea be accepted. On June 19, 2006, Defendant filed
a Waiver of Objections to Report and Recommendation. The court, therefore, undertakes
the necessary review of Judge Jarvey’s recommendation to accept Defendant’s plea in this
case.
                                      II. ANALYSIS
        Pursuant to statute, this court’s standard of review for a magistrate judge’s Report
and Recommendation is as follows:
               A judge of the court shall make a de novo determination of
               those portions of the report or specified proposed findings or
               recommendations to which objection is made. A judge of the
               court may accept, reject, or modify, in whole or in part, the
               findings or recommendations made by the magistrate [judge].


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28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
             The district judge to whom the case is assigned shall make a de
             novo determination upon the record, or after additional
             evidence, of any portion of the magistrate judge’s disposition
             to which specific written objection has been made in
             accordance with this rule. The district judge may accept,
             reject, or modify the recommended decision, receive further
             evidence, or recommit the matter to the magistrate judge with
             instructions.
Fed. R. Civ. P. 72(b).
      In this case, the defendant has waived his right to object to the Report and
Recommendation, and it appears to the court upon review of Judge Jarvey’s findings and
conclusions, that there is no ground to reject or modify them. Therefore, the court
ACCEPTS Judge Jarvey’s Report and Recommendation of June 19, 2006, and accepts
defendant’s plea of guilty in this case to Count 1 of the Indictment.
      IT IS SO ORDERED.
      DATED this 20th day of June, 2006.




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